Case 2:24-cr-00103-MWF   Document 21-5 Filed 12/03/24   Page 1 of 7 Page ID
                                  #:144




                     EXHIBIT 5
Case 2:24-cr-00103-MWF              Document 21-5 Filed 12/03/24               Page 2 of 7 Page ID
                                             #:145


 From:                   L awyer 1
 Sent:                   Thur 10/15/2015 3:32:13 PM (UTC)
 To:                     Roger Ver <roger@memorydealers.corn>
 Cc:                     Return Preparer 1
 Subject:                Re: Rental income, bitcoin valuation, update on company appraisals

 Dear Roger,

 Please see inline replies below.

 Lawyer 1
Law Firm 1

 On 2015/10/14 22:36, Roger Ver wrote:
 > Hi Lawyer 1

 > Actually I think there have been some recent rules made in the USA.

 > According to Other Lawyer
 > the world's lea ing itcoin awyer, m t e    nite   tates, : itcom is a:

 •> "currency" for the purposes of the Bank Secrecy Act.
  > "commodity" for the purposes of the Commodity Exchange Act
  > "money" for the purposes of the Securities Act
  > "property" under the Internal Revenue Code.
  > https://www.irs.gov/uac/Newsroom/IRS-Virtual-Currency-Guidance
  The IRS is using the term "property" to contrast with currency. It more
  or less means "anything you own that isn't USD or recognized as a
  foreign currency". The main difference between property and currency in
  this context is that BTC are not subject to foreign currency gains rules.



 > If the IRS says it is property, then perhaps I should just have it
 > appraised just like I did with my companies previously?
 This is consistent with our understanding. You can appraise your BTC
 holding and use that as your BTC value. Though I emphasize that you are
 allowed to do this because of the size of the BTC holding: For small
 BTC holdings, you have to use exchange rates.


 > If it would be helpful, I am more than happy to make an production to
   Other Lawyer
                as well.

 > For the record, I don't have 200,000 bitcoins, but my biggest concern
 > for the ones I do have, is figuring out which bitcoins belong to me
 > personally, vs MemoryDealers.com <http://MemoryDealers.com> inc.
 > I don't want there to be any future problems between these two, so I'm
 > not sure how that should be handled either.




                                                                                                     _025463
                                                 EXHIBIT 5
                                                    1
Case 2:24-cr-00103-MWF              Document 21-5 Filed 12/03/24                Page 3 of 7 Page ID
                                             #:146


 > Thank you both,
 >
 > Roger Ver
 >
 >
 >
 >
 >
 >
 >
 » On Oct 15, 2015, at 5:16 AM, Lawyer 1
                                               ro e:
 >>

 » Dear Roger,
 »
 » We did some additional research on valuation of your BTC.
 >>

 » Not surprisingly, the IRS has no rules about cryptocurrency
 >> specifically, but we can compare BTCs to publicly traded stock. This is
 » how it works for publicly traded stock.
 >>
 » DEFAULT RULE
 >> Unit price is the exchange price. Total value is number of shares
 » multiplied by unit price.
 »
 >> EXCEPTION FOR LARGE SHAREHOLDERS
 >> If you own a block of shares that you cannot sell without depressing the
 » market, then you can take this effect into consideration and discount
 » the shares. However, because the default rule is number of shares times
 » unit price, it is up to the shareholder to establish the discounted price.
 >>

 » NEXT ACTION
 » We think you can use this valuation method for your BTC. However,
 » because we have the burden of proving the value is not number of BTC
 » times exchange price, we would like an appraisal of your BTC value by a
 » third party who has no personal interest in the tax implications of the
 » appraisal. Do you know someone who is qualified to appraise your BTC
 >> holdings who can do this?
 >>

 » Best regards,

      Lawyer 1

      Law Firm 1

 » On 2015/10/13 23:01, Roger Ver wrote:
 >» Hi
 » >
 >» Completely hypothetically speaking, what would the ramifications be
 >> if I were to have had 200,000 BTC at the time of my renunciation?
 >> >
 >>>
 >» Since the total trade volume for the day, world wide was only about




                                                                                                      _025463
                                                EXHIBIT 5
                                                   2
Case 2:24-cr-00103-MWF              Document 21-5 Filed 12/03/24                Page 4 of 7 Page ID
                                             #:147


 >> $12M USD, and there would have been no possible way to liquidate that
 >> many bitcoins without crashing the price to the low double digits, it
 >> wound't seem fair for a valuation to be assessed at more than the
 >> total trade volume for that day.
 >> >

 >> > I look forward to hearing your thoughts,
 » >
 >> > Roger Ver
 » >
 >> >> On Oct 14. 2015. at 6:02 AM Return Preparer 1
                                           Nro e:
 » »
 » »
 >> >> Roger.
 » »
 >> >> Just wanted to come back to the bitcoin issue at this point as it
 >> is still on my open items list. We have the cost basis in our records;
 >> the other item we need is the number of bitcoins you owned on
 >> expatriation date. As previously mentioned, if it is not possible to
 >> determine this with certainty a reasonable estimate is acceptable for
 >> our purposes.
 >> >>

 >> >> Kind regards,
 >> >>
 >>
    >>111.
 >> >>
 >> >>
 >> >> Return Preparer 1



          Law Firm 1
 »    »
 »    »
 »    »
 »    »
 »    »
 »    »
 »    »
 » » On 8/12/15 10:50 AM, Lawyer 1             wrote:
 >> >>> Dear Roger,
 » >»
 >> >>> Regarding the valuation of the bitcoins:
 >> >>>

 >> >>> The Treasury Regulations require us to value gifts of property on
 >> a per
 >> >» unit basis. You can see this in the general rules for valuation of
 >> >» property under regulation section 25.2512-1 ("The value is
 >> generally to
 >> >>> be determined by ascertaining as a basis the fair market value at the
 >> >» time of the gift of each unit of the property") and in the
 >> valuation of
 >> >>> stocks and bonds under section 25.2512-2.
 >> >>>

 >> >>> The logic behind this rule is that when the property can be
 >> divided into
 >> >>> individual units, the holder can theoretically sell them in discrete
 >> >>> batches within a small interval of time and not depress the market.
 >> >>>

 >> >>> The average per unit price of bitcoins on the day before your




                                                                                                      _025463
                                                 EXHIBIT 5
                                                    3
Case 2:24-cr-00103-MWF              Document 21-5 Filed 12/03/24                Page 5 of 7 Page ID
                                             #:148


 >> >>> expatriation was $800, as established by the average trading price of
 >> >>> all volume of trades that occurred on that day.
 » >»
 >> >>> The result prejudices the assets of significant holders of a limited
 >> >>> market--for example, your bitcoin holdings or the shares of a
 >> >>> significant shareholder of a public corporation--, but it is
 >> >>> unfortunately the rule that the law prescribes.
 >> >>>
 >> >» Best regards,

          Lawyer
          Law Firm 1
 >> >>> On 2015/08/12 09:27, Roger Ver wrote:


           Please see my answers inline below.


 >> >>>>> On Auq 12. 2015. at 5:32 AM Return Preparer 1
                                     wro e:
 >> >>>>>
 >> >>>>>

 >> >>>>> Hi Roger,
 » >>>»
 >> >>>>> Three items for this email -- rental income, bitcoin valuation,
 >> and company appraisals.
 >> >>>>>
 >> >>>>>

 >> >>>>> 1. Rental income. I am going through the rental income
 >> worksheets you had provided earlier this year, getting the data ready
 >> for entry into the tax returns, and a few questions came up.
 » >>>.»
 >> >>>>> • I noticed some months have a negative income amount. Some have
 >> notes in the spreadsheet, but most don't. I attached the Hawaii
 >> properties spreadsheet for your reference. Do these negative numbers
 >> in the rental income section reflect expenses in excess of rental income?
 >> >>>> That is correct.
 » >>>»
 >> >>>>> • If the rental income numbers include expenses paid on each
 >> property, that leads me to 2 more questions:
 >> >>>>> 1) Is it possible to get a breakdown of gross rent received and
 >> a list of expenses by property?
 >> >>>> I've attached all the statements I have for 2014. It likely
 >> isn't worth spending much time on because your fee would likely
 >> quickly surpass any tax savings.
 >> >>>> The property manager was also the real-estate agent I asked to
 >> sell all the properties initially. After she didn't manage to sell
 >> them after a year, I hired a new realtor that sold just about all of
 >> them within a few months.
 >> >>>> Unfortunately, the original realtor / property manager is no
 >> longer responsive because she lost me as a customer.




                                                                                                      _025463
                                                 EXHIBIT 5
                                                    4
Case 2:24-cr-00103-MWF              Document 21-5 Filed 12/03/24                 Page 6 of 7 Page ID
                                             #:149


 >> >>>>
 >> >>>>
 >> >>>>
 >> >>>>
 »
 >> >>»
    >>>>
 »
 >> >>»
    >>>>
 »
 >> >>»
    >>>>
 »
 >> >>»
    >>>>
 >> >>>>> 2) Assuming the rental income amounts are net amounts and not
 >> gross, should I expect that the net rent income amounts provided here
 >> do _*not*_ include the annual expenses for property tax, mortgage
 >> interest, and HOA fees? I am asking this because those expenses were
 >> provided separately to us, and I want to make sure we are not
 >> double-counting them.
 >> >>>> All of
              of those expenses were paid separately by myself, so you are
 >> not double counting them.
 »
 >> >>>»
    >>>>>
 >> >>>>> • Where the rental income amounts fluctuate month to month, is
 >> that to reflect expenses being paid in some months (if (if the rental
 >> income amount shown here is net and not gross), or is there an actual
 >> fluctuation in the rent collected?
 >> >>>> This would be due to a fluctuation in expenses month to month,
 >> not a fluctuation in the gross rent.
 »
 >> >>>»
    >>>>>
 >> >>>>> • Perhaps it would be helpful to have a bit of of background on
 >> this, as well -- are the Hawaii rentals for the most part long term
 >> rentals occupied by persons who reside there, or short term vacation
 >> rentals?
 >> >>>> They were all long term rentals.
 >> >>>> In 2015 I managed to sell all of of them. (with one left that will
 >> be sold by the end of of the year)
 »
 >> >>>»
    >>>>>
 »
 >> >>>»
    >>>>>
 >> >>>>> 2. Bitcoin valuation.
 »
 >> >>>»
    >>>>>
 »
 >> >>>»
    >>>>> • Lawyer 1 has researched this and determined that the we will
 >> have to use the  e $800
                          00 per bitcoin FMV when doing the deemed sale for
 >> expatriation. Basically, there is no provision that we can find in the
 >> Code that allows us to take into account how thin the market is when
 >> doing this type ofof valuation. Therefore, to determine the total FMV ofof
 >> bitcoins you owned at expatriation date, I will need you to provide me
 >> with the number of bitcoins you owned as of that day (if exact number
 >> is unknown, your best attempt at approximation will suffice).
 >> >>>> This seems impossible and unreasonable.
 >> >>>> How could the Fair Market Value to be greater than the size of     of
 >> the entire market?
 >> >>>>
 >> >>>>
 >> >>>>
 >> >>>>>
 >> >>>>> • The basis you provided -- $2,127,454 as COGS for
 >> www.bitcoinstore.com <http://www.bitcoinstore.com> plus two separate
 >> purchases for $320,000 and $100,000 constitute your basis in the
 >> bitcoins. The cost to build the website is not included in the
 >> bitcoins' basis.
 >> >>>>>
    >>>>>
 >> >>>>>
 >> >>>>>
 >> >>>>> 3. Company appraisals. I just am following up to find out the




                                                                                                       _025463
                                                 EXHIBIT 5
                                                    5
Case 2:24-cr-00103-MWF               Document 21-5 Filed 12/03/24            Page 7 of 7 Page ID
                                              #:150


 » status of these. Employee 1 , perhaps you can update me on this? I have
 » notes that appraisa s were ordered for the following:
 » >>>»
 >> >»» - Memory Dealers
 »»»>-A        ilestar

 >> >»» - Also please let me know if I omitted any companies from this
 >> list -- if I did, it was unintentional.
 » >>>»
 » >>>»
 >> >»» Kind regards,
 » >>>»
 »
    >>>»IN
 » >>>»
 » >>>»
              Return Preparer 1

           Law Firm 1

 » >»» <Hawaii rental property income Jan-Dec 2014 - updated with
 >> mortgage interest and property tax.xls>




                                                                                                   025463
                                                 EXHIBIT 5
                                                    6
